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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

UNITED STATES OF AMERICA,                            §
                                                     §
                 Plaintiff,                          §
                                                     §
v.                                                   §                   1:21-CV-796-RP
                                                     §
THE STATE OF TEXAS,                                  §
                                                     §
                 Defendant.                          §

                                                ORDER

         Before the Court is the United States’ Emergency Motion for a Temporary Restraining

Order or Preliminary Injunction (the “Motion”). (Dkt. 8). In light of Defendant State of Texas’s

(“Texas”) representations to the Court that it opposes the Motion and wishes to be heard before the

Court resolves the Motion, the Court finds that briefing and expedited consideration of the

requested preliminary injunction is appropriate. Accordingly, a preliminary injunction hearing is set

for October 1, 2021, at 9:00 a.m. The Court issues the following briefing schedule:

     1. Texas shall file its response to the Motion no later than 9:00 a.m. on September 29, 2021.

     2. The United States shall file its reply, if any, prior to the hearing and no later than 9:00 a.m.

         on October 1, 2021.

 SIGNED on September 15, 2021.


                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
